                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 LEJANDRA D. HERMAN,                               )
                                                   )
               Petitioner,                         )
                                                   )
 v.                                                )       3:04-CR-131
                                                   )       3:07-CV-304
 UNITED STATES OF AMERICA                          )       (VARLAN/SHIRLEY)
                                                   )
               Respondent.                         )


                                   JUDGMENT ORDER

        In accordance with the accompanying Memorandum, the government's motion to

 dismiss is GRANTED. The motion to vacate, set aside or correct sentence pursuant to 28

 U.S.C. § 2255 is DENIED as time-barred and this action is DISMISSED. Should the

 petitioner give timely notice of an appeal from this decision, such notice will be treated as

 an application for a certificate of appealability, which under the circumstances is DENIED.

 The court CERTIFIES that any appeal from this action would not be taken in good faith and

 would be totally frivolous. Therefore, this court hereby DENIES the petitioner leave to

 proceed in forma pauperis on appeal.


               ENTER:


                                           s/ Thomas A. Varlan
                                           UNITED STATES DISTRICT JUDGE

 ENTERED AS A JUDGMENT
    s/ Patricia L. McNutt
    CLERK OF COURT


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